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           Exhibit M
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                  Exhibit N




                                 1
Microsoft Reaches Agreement to Settle Contract Dispute With Sun Microsystems: Micros... 6/14/2011
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       Dispute With Sun Microsystems                                                                                  Rapid Response Team
                                                                                                                      Waggener Edstrom Worldwide
           Microsoft Corp. today an agreement with Sun Microsystems to settle both the October 1997 lawsuit           (503) 443-7070
           filed by Sun and the Microsoft counter suit in the dispute over the Java technology license
           agreement between the two companies.


                                                                                                                    Related Items
                                                          Like                      0
                                                                                                                      Settlement Agreement and
           REDMOND, Wash., Jan. 23, 2001 — Microsoft Corp. today announced an agreement with Sun                      Mutual Limited Release - Jan.
           Microsystems to settle both the October 1997 lawsuit filed by Sun and the Microsoft counter suit in        23, 2001
           the dispute over the Java technology license agreement between the two companies.


           "Microsoft is very pleased with the successful conclusion of this litigation," said Tom Burt, deputy
           general counsel for litigation at Microsoft. "This settlement will not impact our customers or current
           products in any way and will allow us to focus our time and resources on what we do best:
           developing great software."


           The technology license and distribution agreement was signed by the parties in March 1996 and
           was due to expire in two months. Under the terms of the settlement, the existing technology license
           agreement between the two companies is terminated. Microsoft can continue to ship all current
           products and those in beta containing Sun's technology for a period of seven years and in return
           agrees to pay Sun $20 million. Microsoft agreed not to use Sun's Java Compatible trademark, which
           it has not done since 1998.


           The license agreement and the settlement agreement confirm Microsoft's freedom to independently
           develop technology that competes with Sun's technology.


           "This settlement is great news for the industry and Microsoft as it means we can focus all our
           resources to help enable the next generation of software with Web Services," said Sanjay
           Parthasarathy, vice president of the Platform Strategy Group at Microsoft. "The Microsoft .NET
           platform is the best way to build, deliver and aggregate Web Services, and Microsoft is committed
           to helping software developers build Web Services with whatever programming language is most
           appropriate for their particular needs."


           About Microsoft


           Founded in 1975, Microsoft (Nasdaq "MSFT" ) is the worldwide leader in software, services and
           Internet technologies for personal and business computing. The company offers a wide range of
           products and services designed to empower people through great software -- any time, any place
           and on any device.


           #########


           Microsoft is a registered trademark of Microsoft Corp. in the United States and/or other countries.


           The names of actual companies and products mentioned herein may be the trademarks of their
           respective owners.


           For more information, press only:


           Jim Cullinan, Microsoft Corp., (425) 703-5913, jcull@microsoft.com




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                  Exhibit O




                                 1
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                                                                                                                         (503) 443-7070

           WHEREAS , Sun Microsystems, Inc. ( "Sun" ) filed suit against Microsoft Corporation ( "Microsoft" )
           on October 7, 1997 in the United States District Court for the Northern District of California, Case
           Number C97-20884 RMW (PVT) (the "Action" );


           WHEREAS , Microsoft timely answered Suns complaint and filed counterclaims against Sun in the
           Action;


           NOW THEREFORE , the parties agree as follows:


               1. Definitions .


               2.    1. As used herein, "Sun" means Sun Microsystems, Inc. and all of its Subsidiaries.


                     2. As used herein, "Microsoft" means Microsoft Corporation and all of its Subsidiaries.


                     3. As used herein, "Subsidiary" means a corporation, partnership, limited liability
                         company, unincorporated association, or other entity (i) greater than 50% of whose
                         combined voting power of the total issued and outstanding voting stock (representing
                         the right to vote for the election of directors or other management authority) is, now or
                         hereafter, owned or controlled, directly or indirectly, by a party hereto (a "Parent" ),
                         and is actually controlled or managed by such Parent, or (ii) which does not have
                         outstanding shares or securities, as may be the case in a partnership or limited liability
                         company, but greater than 50% of whose ownership as equity interest is, now or
                         hereafter, owned or controlled, directly or indirectly, by a Parent and is actually
                         managed or controlled by such Parent.


                     4. As used herein, "Intellectual Property Rights" shall mean all intellectual property rights
                         worldwide arising under statutory or common law, and whether or not perfected,
                         including, without limitation, all (i) patents and patent applications owned or licensable
                         by Sun or Microsoft; (ii) rights associated with works of authorship including
                         copyrights, copyright applications, copyright registrations, mask work rights, mask
                         work applications, mask work registrations; (iii) rights relating to the protection of
                         trade secrets and confidential information; (iv) any right analogous to those set forth in
                         this paragraph and any other proprietary rights relating to intangible property (other
                         than trademark, trade dress, or service mark rights); and (v) divisions, continuations,
                         renewals, reissues and extensions of the foregoing (as and to the extent applicable)
                         now existing, hereafter filed, issued or acquired.


                     5. As used herein, a "Critical Customer Defect" is any software flaw in a licensed binary
                         implementation that is independently reported by a third party customer and that
                         causes data loss, data corruption, frequent software crashes, or significant errors, such
                         that it substantially interferes with such customers ability to use a licensed JDK 1.1.4-
                         level binary implementation to perform or achieve the functionality specified therefor in
                         Microsofts Reference Documentation.


                     6. As used herein, a "Security Hole" is any software flaw, irrespective of whether it is
                         independently reported by a third party customer, that causes a licensed JDK 1.1.4-
                         level binary implementation to fail to conform to the security features specified therefor
                         in Microsofts Reference Documentation.


                     7. As used herein, "Microsofts Reference Documentation" shall mean the Microsoft
                         Developer Tools Interoperability Kit Version 1.1 attached hereto as Exhibit A, and the
                         Microsoft April 2000 MSDN developer library documentation for Microsofts JDK 1.1.4-
                         level binary implementation contained on the compact discs referenced in Exhibit B.




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        3. Acknowledgment of Termination . Sun notified Microsoft that Sun was terminating the
             TLDA. Microsoft replied that Suns termination was wrongful and without legal foundation. To
             settle the pending litigation, Microsoft agrees that the TLDA is terminated but the parties
             agree that Microsofts consent is not an admission of any breach of the TLDA by Microsoft,
             any wrongdoing by Microsoft or the existence of any liability of Microsoft to Sun.


        4. Termination of Surviving Licenses and Obligations . The parties further agree that:


        5.     1. Such TLDA obligations and rights as survive termination of the TLDA by Sun, including
                  (without limitation) any and all perpetual licenses granted therein by either party, are
                  hereby terminated and extinguished, except for such surviving rights and obligations as
                  either party may have to the other pursuant to article 7 and section 8.1 of the TLDA,
                  and


               2. Suns termination of the TLDA does not terminate, revoke or impair in any way licenses
                  granted during the term of the TLDA by Microsoft to third parties that are consistent
                  with the terms of the TLDA or this Settlement Agreement to use or distribute Microsoft
                  products licensed under the TLDA, and all such third party licenses of Microsoft shall
                  continue in full force and effect pursuant to the valid provisions of such licenses.


        6. Permanent Injunction . Microsoft hereby consents and agrees to the entry by the Court of
             a permanent injunction in the form attached hereto as Exhibit C.


        7. Payment . Microsoft shall pay to Sun, by January 25, 2001, the sum of Twenty Million
             Dollars ($20,000,000).


        8. Limited Licenses . As limited herein, Sun grants to Microsoft:


        9.      1. A limited license under Suns Intellectual Property Rights, during the period ending
                   January 2, 2008, to continue to distribute without modification in currently shipping
                   commercial products, all as listed on Exhibit D attached, the JDK 1.1.4-level binary
                   implementations identified in Exhibit E attached, but only insofar as such binary
                   implementations do not alter or add in any way to the functionality and features of the
                   JDK 1.1.4-level binary implementation that was present in the Windows 2000 First
                   Commercial Release ( "Windows 2000 FCR 1.1.4 binary implementation" ), as
                   modified in accordance with the Delta List attached hereto as Exhibit F (which exhibit
                   is designated as confidential by Microsoft pursuant to paragraph 3(a) above);


                2. Subject to and conditioned on Microsofts compliance with all of the provisions of
                   paragraph 7(c), a limited license under Suns Intellectual Property Rights, during the
                   period ending January 2, 2004, to use Suns JDK 1.1.4-level source code, for
                   Microsofts internal use only, for the sole purpose of making such limited modifications
                   to the JDK 1.1.4-level binary implementations licensed herein under paragraphs 6(a),
                   6(b) or 6(c) as are necessary to correct only Critical Customer Defects or Security
                   Holes, and only insofar as such modified implementations satisfy the limitations set
                   forth in paragraph 7 below;


                3. Subject to and conditioned on Microsofts compliance with all of the provisions of
                   paragraph 7(c), a limited license under Suns Intellectual Property Rights, during the
                   period ending January 2, 2004, to incorporate the JDK 1.1.4-level binary
                   implementations licensed under paragraphs 6(a) or 6(b) above in successor versions
                   of the products identified in Exhibit D, as said exhibit may be amended pursuant to
                   paragraph 8, but only insofar as such modified implementations and products satisfy
                   the limitations set forth in paragraph 7 below;


                4. Subject to and conditioned on Microsofts compliance with all of the provisions of
                   paragraph 7(c), a limited license under Suns Intellectual Property Rights, during the
                   period ending January 2, 2008, to distribute the products identified in paragraph 6(c)
                   above, but only insofar as such products satisfy the limitations set forth in paragraph
                   7 below;


                5. A limited license under Suns Intellectual Property Rights, during the period ending
                   January 2, 2008, to grant, with respect to Microsofts currently shipping VJ++6.0 or
                   SDK for JAVA, a sublicense in the form attached as Exhibit G to redistribute the files
                   listed in Exhibit G, but only insofar as such products satisfy the limitations set forth in
                   paragraph 7 below;


                6. A limited license under Suns Intellectual Property Rights, during the period ending
                   January 2, 2008, to distribute in Microsofts currently shipping standalone VJ++6.0
                   and SDK for JAVA products only such portion of the JDK 1.1.4-level source code as is




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                      currently shipping in such products, but only insofar as such products and source code
                      satisfy the limitations set forth in paragraph 7 below;


                7. A limited license under Suns Intellectual Property Rights, during the period ending
                      January 2, 2004, for Microsofts internal use only, to use Suns JCK 1.1.4 compatibility
                      test suite for the sole purpose of confirming that products and binary implementations
                      licensed under this paragraph 6 satisfy the limitations of paragraph 7 below;


                8. A limited license under Suns Intellectual Property Rights, during the period ending
                      January 2, 2004, to continue to distribute without modification Microsofts currently
                      existing inventory of products listed on Exhibit H that contain pre-JDK 1.1-level binary
                      implementations, provided that:


                9.      1. such products are not manufactured by Microsoft after March 31, 2001, and


                        2. the license to modify granted in paragraphs 6(b) and (c) above shall not apply to
                           such products;


               10. A limited license under Suns Intellectual Property Rights, during the period ending
                      January 2, 2004, to continue to distribute without modification such currently existing
                      Microsoft products as are listed on Exhibit D that currently contain a JDK 1.1.1-,
                      1.1.2- or 1.1.3-level binary implementation, provided that:


               11.      1. the license to modify granted in paragraphs 6(b) and (c) above shall not apply to
                           such products or binary implementations, and


                        2. if a product containing a JDK 1.1.1-, 1.1.2- or 1.1.3-level binary implementation
                           is modified in any respect, Microsoft will replace the JDK 1.1.1-, 1.1.2- or 1.1.3-
                           level binary implementation in such product with a JDK 1.1.4-level binary
                           implementation licensed under paragraphs 6(a) or 6(b) herein prior to any
                           commercial distribution of such modified product.


       10. License Limitations . The basic intent of the licenses granted in paragraph 6 above is to
             permit Microsoft to continue to distribute its current products "as is." The limited license
             granted in paragraph 6(b) above to modify the JDK 1.1.4level binary implementations listed
             on Exhibit D is intended by Sun and Microsoft to allow Microsoft to correct Critical Customer
             Defects or Security Holes only.


       11.     1. The licenses granted in paragraph 6 above expressly exclude any right or license, and
                     nothing in this Agreement or in the definitions of "Critical Customer Defect" or "Security
                     Hole" shall be construed to grant Microsoft any right or license, under Suns Intellectual
                     Property Rights to develop or distribute any product that otherwise would be licensed
                     under paragraph 6 above that:


               2.       1. Adds to any binary implementation licensed under paragraph 6 new or different
                           functionality to that specified in Microsofts Reference Documentation;


                        2. Adds to any binary implementation licensed under paragraph 6 new or different
                           semantics to those specified in Microsofts Reference Documentation;


                        3. Enhances the performance of any binary implementation licensed under
                           paragraph 6 relative to the performance of the pre-existing Windows 2000 FCR
                           1.1.4 binary implementation (as modified in accordance with the Delta List
                           attached as Exhibit F), except such enhancement as is incidental to and not the
                           purpose for a correction of a Critical Customer Defect or Security Hole;


                        4. Alters the number, names or formats of the binary files comprising any binary
                           implementation licensed under paragraph 6 relative to the number, names or
                           formats of the binary files comprising the pre-existing Windows 2000 FCR 1.1.4
                           binary implementation (as modified in accordance with the Delta List attached as
                           Exhibit F);


                        5. Alters the manner in which any binary implementation licensed under paragraph
                           6 is integrated with any other technology relative to the manner in which the
                           pre-existing Windows 2000 FCR 1.1.4 binary implementation (as modified in
                           accordance with the Delta List attached as Exhibit F) is integrated with any other
                           technology;


                        6. Integrates, into any other technology, any element or piece of any binary
                           implementation that is licensed under paragraph 6 and which uses Suns




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                         Intellectual Property Rights;


                   7. Use the JAVA class libraries licensed under paragraph 6 in conjunction with:


                   8.      1. Any virtual machine or compiler other than those licensed under paragraph
                               6 above; or


                           2. Any Microsoft .NET runtime, including any .NET common language
                               runtime;


                   9. Alters or adds to the meaning or semantics of the content passed through any of
                         the Microsoft compiler directives (for example @dll, @com, and @security)
                         beyond that specified in Microsofts Reference Documentation;


                  10. Alters or adds to the meaning or semantics of Microsofts "delegate" or
                         "multicast" keywords beyond that specified in Microsofts Reference
                         Documentation;


                  11. Implements any change or modification to the JAVA language as specified in
                         Suns published specification of the JDK 1.1.4-level version of the JAVA language
                         beyond those specified in Microsofts Reference Documentation; or


                  12. Alters or adds to the methods or means by which the Windows 2000 FCR 1.1.4
                         binary implementation (as modified in accordance with the Delta List attached as
                         Exhibit F) effects calls between JAVA language code running in a JDK 1.1.4-level
                         binary implementation and code running elsewhere ( "bridging" ). Examples of
                         currently existing bridging include (1) Suns "ActiveX Bridge for JAVABeans" and
                         (2) Microsofts "COM to JAVA" bridge. An example of unauthorized bridging would
                         be connecting JAVA language code running in a JDK 1.1.4 binary implementation
                         to the .Net framework.


           3. The limited licenses granted in paragraphs 6(b) through (g) above are restricted to only
                such products and such binary implementations as pass Suns JCK 1.1.4 compatibility
                test suite prior to any commercial distribution by Microsoft, except that Sun hereby
                agrees to exempt Microsofts @dll, @com, and @security compiler directives, and its
                "delegate" and "multicast" keywords, from compliance with the Compiler Output
                Requirement of the JCK 1.1.4 test suite provided that any product implementing these
                extensions conforms to and does not alter or add in any way to Microsofts published
                specification for such compiler directives and keywords as contained in Microsofts
                Reference Documentation. Sun further agrees that the products and implementations
                licensed under paragraphs 6(b) through (g) shall be exempt from any test in Suns
                1.1.4 compatibility test suite listed on Exhibit I or that Sun hereafter designates, at any
                time during the term of the licenses granted herein, as an excluded test. For purposes
                of testing any JDK 1.1.4-level binary implementation pursuant to this paragraph 7(b),
                Microsoft will include the JAVA packages identified in Exhibit K.


           4. Microsoft shall document each modification made to any licensed binary
                implementation pursuant to paragraph 6(b) above and notify Sun in writing thereof as
                follows:


           5.     1. Prior to any commercial distribution of any JDK 1.1.4-level binary implementation
                        that has been modified or altered to correct a Critical Customer Defect or Security
                        Hole, Microsoft shall first:


                  2.      1. Create a detailed written English language description of the Critical
                              Customer Defect or Security Hole to be corrected, the change in
                              programming made to effect such correction, and all known and intended
                              effects of such correction; and


                          2. Have a senior Microsoft engineer review the written description and source
                              code of the modification(s) made to correct each Critical Customer Defect or
                              Security Hole and certify in writing that all such modification(s) comply with
                              this Agreement and the limitations and obligations it contains.


                  3. At least quarterly within thirty (30) days following the end of each calendar
                        quarter, Microsoft shall provide to Sun the written description and written
                        certification for each modification made to correct a Critical Customer Defect or
                        Security Hole during the quarter.


                        Microsoft shall make reasonable efforts to answer any reasonable questions or




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                        concerns Sun may communicate in writing to Microsoft concerning any
                   4.
                        modification made by Microsoft within thirty (30) days of its receipt of such
                        communication from Sun.


                   5. Unless Sun notifies Microsoft within sixty (60) days of receipt of any quarterly
                        description and certification provided by Microsoft in accordance with this
                        paragraph 7(c) that a change documented and certified by Microsoft is
                        unacceptable to Sun, each such change as is documented and certified by
                        Microsoft shall be deemed to be accepted by Sun as compliant with this
                        Settlement Agreement.


       12. Exhibit D . Microsoft shall prepare and deliver Exhibit D to Sun within forty-five (45) days
           hereof, identifying each product listed by its product name and version number. If, prior to
           March 31, 2001, Microsoft learns that it inadvertently omitted from Exhibit D any product
           that was shipping as of the date of this Settlement Agreement, Exhibit D shall be amended
           to include the name and version of such product. If, subsequent to March 31, 2001, Microsoft
           wishes to add any additional product version that was shipping as of the date of this
           Settlement Agreement, but was inadvertently omitted from Exhibit D, it may do so by paying
           to Sun the sum of One Hundred Thousand Dollars ($100,000.00) per product version added.


       13. Exhibit F . Microsoft represents that it has made a thorough and diligent investigation and
           based thereon, to the best of Microsofts knowledge and belief, Exhibit F contains a complete,
           accurate summary of each change made in each JDK 1.1.4-level binary implementation
           included on Exhibit E that alters or adds in any way to the functionality or features in the
           Windows 2000 FCR 1.1.4 binary implementation, or that otherwise fails to meet any
           limitation of paragraph 7 relative to said Windows 2000 FCR 1.1.4 binary implementation. If,
           prior to March 31, 2001, Microsoft learns that it omitted from Exhibit F any change required
           to be disclosed therein, it shall promptly provide to Sun a written description of each such
           change and pay to Sun the sum of Twenty Thousand Dollars ($20,000) for each such
           previously undisclosed change. Unless Sun notifies Microsoft within sixty (60) days of receipt
           of any correction provided hereunder that any previously undisclosed change described in
           such corrected documentation is unacceptable to Sun, such change shall be deemed
           accepted by Sun as an amendment to Exhibit F as of the date of this Settlement Agreement.


       14. Exhibit H . Microsoft shall prepare and deliver Exhibit H to Sun, within forty-five (45) days
           hereof, identifying each product listed by its product name, version number, and the build
           number of the pre-1.1.4 binary implementation it contains.


       15. Exhibit J . Microsoft represents that Exhibit J contains a complete and accurate report of the
           compatibility testing performed on the binary implementations identified therein using Suns
           JCK test suite and exclude list attached as Exhibit I.


       16. Failure To Provide Documentation . If, subsequent to its provision of a quarterly report to
           Sun pursuant to paragraph 7(c), Microsoft becomes aware that such quarterly report fails
           accurately or completely to describe in accordance with paragraph 7(c) any programming
           change made by Microsoft, Microsoft shall, within thirty (30) days of its awareness thereof,
           notify Sun of such error or failure, provide Sun with corrected, complete documentation for
           each previously undocumented change (including any certification required under this
           Settlement Agreement) and pay to Sun the sum of Twenty Thousand Dollars ($20,000) for
           each programming change made pursuant to paragraph 6(b) that was previously
           undocumented by Microsoft in violation of paragraph 7(c). If Microsoft corrects an error or
           omission in a quarterly report provided to Sun pursuant to paragraph 7(c) in its report for
           the next subsequent quarter, such correction, together with the payment required herein,
           shall cure any such failure of Microsoft to comply with the documentation requirements of
           paragraph 7(c). If Microsoft fails to correct an error or omission in a quarterly report
           provided pursuant to paragraph 7(c) in its report for the next subsequent quarter, any
           subsequent correction made by Microsoft, together with the payment required herein, shall
           cure only such omissions or errors of Microsoft to comply with the documentation
           requirements of paragraph 7(c) as were inadvertent. Unless Sun notifies Microsoft within
           sixty (60) days of receipt of any correction provided hereunder that a programming change
           described and certified by Microsoft in such corrected documentation is unacceptable to Sun,
           such change shall be deemed accepted by Sun as compliant with the restrictions of
           paragraphs 6 and 7 of this Settlement Agreement effective as of the date of this Settlement
           Agreement.


       17. Notice and Cure . In the event that Sun becomes aware that Microsoft has, during the term
           of this Agreement, used in any binary implementation or product licensed under paragraph 6
           any Intellectual Property Rights of Sun in the JDK 1.1.4-level technology beyond the scope of
           the licenses granted herein, Sun may provide written notice thereof to Microsoft, whereupon
           Microsoft shall have thirty (30) days from the date of such notice of default to notify Sun in




http://www.microsoft.com/presspass/legal/01-23settlement.mspx                                               Page 5of8
Settlement Agreement and Mutual Limited Release                           6/14/2011
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             writing whether Microsoft will promptly cure such default and if so, the actions it will take to
             effect such cure. If, within thirty (30) days of any notice of default from Sun, Microsoft
             notifies Sun in writing that it will promptly cure such default, it shall have sixty (60) days
             thereafter in which to effect a cure.


       18. Termination . If Microsoft fails to commit within thirty (30) days of a written notice of
             default from Sun that Microsoft will cure its use of Suns Intellectual Property Rights in the
             JDK-1.1.4 level technology beyond the scope of the licenses granted herein, or if Microsoft
             fails to cure such default within ninety (90) days of such notice from Sun, Sun shall, effective
             as of the date of notice of default from Sun, have the right to terminate the licenses granted
             to Microsoft in paragraphs 6(b), (c), (d) and (g) above with respect to all products and
             binary implementations modified by Microsoft subsequent to the date of termination by Sun.
             In the event of such termination by Sun:


       19.     1. The licenses granted under paragraphs 6(a), (e), (f), (h) and (i) will continue in full
                  force and effect in accordance with their terms, notwithstanding any such termination
                  by Sun;


               2. The license granted under paragraph 6(d) shall survive until December 15, 2007, but
                  limited only to such products as were commercially distributed by Microsoft in
                  accordance with the limitations of paragraphs 6(d) and 7 prior to the date of notice of
                  default from Sun; and


               3. The licenses granted under paragraphs 6(b) and (c) shall terminate as of the date of
                  Suns notice of default.


       20. Independent Development . Each party reserves whatever right it may have to develop or
             distribute technology that does not infringe the Intellectual Property Rights of the other
             party. The foregoing sentence notwithstanding, the licenses granted herein to make or
             distribute the binary implementations referenced in paragraph 6 above shall be subject to
             the limitations and conditions set forth in paragraphs 6 and 7.


       21. No Implied License . Nothing in this Settlement Agreement grants any right or license to or
             under the Intellectual Property Rights of Sun, except as expressly provided in paragraph 6
             above, and no other right or license shall be implied or inferred from any provision of this
             Settlement Agreement or from any conduct of the parties.


       22. Mutual Limited Release of Claims .


       23.     1. Released Claims And Counterclaims . Subject to Suns reservation of antitrust claims in
                  paragraph 17(b) below and Microsofts reservation of antitrust counterclaims in
                  paragraph 17(c) below, Sun and Microsoft hereby release only such claims and
                  counterclaims as each party has against the other based upon the acts or omissions of
                  either party prior to the date of this Agreement that were the subject of this Action.
                  Microsoft specifically releases any claim or counterclaim it may have against Sun for
                  damages or other injury arising out of the entry of any injunctive relief against
                  Microsoft in connection with this Action. Sun and Microsoft further agree that the claims
                  and counterclaims asserted in this Action shall be dismissed with prejudice, and hereby
                  consent to entry of judgment by the Court in substantially the form attached hereto as
                  Exhibit C.


               2. Suns Unreleased Antitrust Claims . Paragraph 17(a) above notwithstanding, Sun
                  reserves and does not release or dismiss any claims arising under antitrust laws it may
                  have against Microsoft, including such claims as may be based in whole or in part on
                  some or all of the facts underlying any of the claims released and dismissed in
                  paragraph 17(a) above.


               3. Microsofts Unreleased Antitrust Counterclaims . Paragraph 17(a) above
                  notwithstanding, Microsoft reserves and does not release or dismiss any counterclaim
                  arising under antitrust laws it may have against Sun in response to and based on any
                  claim made against Microsoft by Sun pursuant to paragraph 17(b) above, including
                  such counterclaims as may be based in whole or in part on some or all of the facts
                  underlying any of the claims released and dismissed in paragraph 17(a) above.


               4. Unreleased Defenses . Neither party releases or dismisses any defense to any
                  Unreleased Antitrust Claim or Unreleased Antitrust Counterclaim, other than the
                  defense that this Settlement Agreement or Exhibit C bars or precludes the assertion of
                  such Unreleased Antitrust Claim or Unreleased Antitrust Counterclaim.


                  Dissolution . Except as provided in Exhibit C, Sun and Microsoft hereby request the




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                      Court to dissolve all injunctions previously entered by the Court.
                 5.


          24. Ownership Rights . Nothing in this Agreement is intended to expand or diminish the
              ownership or intellectual property rights of either party in the licensed binary
              implementations or licensed products.


          25. Notices . All notices must be in writing and delivered either in person or by certified mail or
              registered mail, postage prepaid, return receipt requested, to the person(s) and addresses
              specified below. Such notice will be effective upon receipt.

      Sun                                  Microsoft



      Sun Microsystems, Inc.               Microsoft Corporation
      901 San Antonio Road                 One Microsoft Way
      Palo Alto, California 94306         Redmond, Washington 98052
      Attn: Vice President, JAVA Software
                                           Attn: Vice President,
                                           Internet Platform & Tools Div.




      with a copy to:                      with a copy to:



      Sun Microsystems, Inc.               Microsoft Corporation
      901 San Antonio Road                 One Microsoft Way
      MS PAL01-501                         Redmond, Washington 98052
      Palo Alto, CA 94306
      Attn: General Counsel                Attn: Law & Corp. Affairs




          1. Integration . This document sets forth the complete, final and exclusive statement of the
             parties agreement and may not be modified or altered in any respect except by a written
             instrument signed by a duly authorized representative of each party hereto.


      This Agreement is executed and shall be effective this 22nd day of January 2001.

      SUN MICROSYSTEMS, INC.MICROSOFT CORPORATION



      By: Patricia Sueltz          By: Sanjay Parthasarathy
      Executive Vice President,    Vice President,
      Software Systems Group       Platform Strategy Group



      Exhibit List

      ExhibitDescription




      A        Microsoft Developer Tools Interoperability Kit                    1(g)
               Version 1.1 (done)


      B        MSDN April 2000 Developer Library CDs (done)                      1(g)




      C        Permanent Injunction (done)                                       4



      D        Licensed Product List (due 45 days after signing)                 6(a)




      E        Licensed Binary Implementation List (Microsoft to supply)         6(a)




      F        Delta List (done)                                                 6(a)




      G        VJ++ 6.0 Sublicense and Redistributable List (Microsoft to supply) 6(e)




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      H        List of Pre-JDK 1.1 Licensed Products (due 45 days after signing) 6(h)




      I        JCK 1.1.4 Exclude List (Sun to supply)                           7(b)




      J        Microsoft JCK Test Results (Microsoft to supply)                 11



      K        Additional JAVA Packages for JCK Testing (Microsoft to supply)   7(b)




      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA


      SUN MICROSYSTEMS, INC ., No. C 97-20884 RMW (PVT)
      a Delaware corporation,
                                       Order For Entry Of Judgment
      Plaintiff,

      v.


      MICROSOFT CORPORATION ,

      a Washington corporation,

      Defendant.



      The parties having executed the attached Settlement Agreement, dated December 19, 2000, in
      which they mutually consent to judgment as set forth below, and the Court having reviewed and
      approved said Agreement, it is hereby adjudged and ordered as follows:


      1. Microsoft, its officers, agents, servants, employees, attorneys, and those in active concert or
      participation with them who receive actual notice of this order by personal service or otherwise, are
      permanently enjoined from using or displaying, directly or indirectly, on or in connection with the
      advertising, distribution, sale, or promotion of any Microsoft product, Suns "JAVA COMPATIBLE® "
      trademark or any other mark, logo, or identification that imitates or simulates said "JAVA
      COMPATIBLE® " trademark in a manner that is likely to deceive or cause confusion or mistake.


      2. Except as set forth above, all injunctions previously entered herein are hereby vacated, and the
      security posted by Sun with respect to all injunctions, including the March 24, 1998 preliminary
      injunction for trademark infringement, shall be withdrawn and returned to Sun by the Clerk of the
      Court.


      3. Except as set forth above, judgment shall enter herein dismissing with prejudice and without
      costs the claims released by the parties in the attached Settlement Agreement.


      IT IS SO ORDERED.


      DATED: January ___, 2001


      RONALD M. WHYTE
      United States District Court Judge




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           Exhibit P
      FILED UNDER SEAL
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           Exhibit Q
      FILED UNDER SEAL
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           Exhibit R
      FILED UNDER SEAL
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                  Exhibit S




                                 1
Android | Timeline                                                        6/14/2011
        Case 3:10-cv-03561-WHA Document 172-3 Filed 06/14/11 Page 74 of 122



                                                                                                                 « Back to Android.com




Check out the timeline to learn what's happened with Android so far and what's coming up
in the future.




                                                           Open Handset Alliance announces Android
                                                           November 5th, 2007
                                                           34 mobile and technology leaders come
                                                           together to form the Open Handset
                                                           Alliance. They announce Android, the
                                                           world's first truly open and complete
                                                           mobile platform. First phones scheduled
                                                           to ship in second half of 2008.




             Early look SDK released
             November 12th, 2007
             Developers get the opportunity
             to provide feedback and shape
             the SDK's development.




                                                                             Android Developer Challenge I
                                                                             April 17th, 2008
                                                                             1,788 submissions received on this date. 20 winners
                                                                             announced on Aug 28th. $5 million in total awarded to
                                                                             developers for great Android applications.




                     Android Market announced
                     August 28th, 2008
                     Open content distribution system to
                     connect users and developers.




                                                                        T-Mobile G1
                                                                        September 23rd, 2008
                                                                        World's first Android-powered phone
                                                                        announced. Phones available to
                                                                                             O




http://www.android.com/timeline.html                                                                                     Page 1of2
Android | Timeline                                                        6/14/2011
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                                                                                   consumers starting October 22.




                             Android 1.0 SDK release 1 available
                             September 23rd, 2008
                             Developers have access to first 1.0 compatible SDK.




                                                                       Android Open Source Project
                                                                       October 21st, 2008
                                                                       Source code is released.




                                                                More to come... stay tuned!
Site Terms of Service - Privacy Policy - Brand Guidelines




http://www.android.com/timeline.html                                                                                Page 2of2
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                  Exhibit T




                                 1
http://www.javaworld.com/javaworld/jw-02-2011/110204-android-market.html
                     Case 3:10-cv-03561-WHA Document 172-3 Filed 06/14/11 Page 77 of 122
  Sponsored by:




  This story appeared on JavaWorld at
  http://www.javaworld.com/javaworld/jw-02-2011/110204-android-market.html




  Developers hail improvements to Android
  Market
  Developers say the addition of a browser-based store and and in-app payments
  will get more users to download applications and encourage development
  By Mikael Ricknäs, IDG News Service, 02/04/11

  Google's improvements to the Android Market application store, including the addition of a browser-based
  store and in-app payments, are being hailed as a big step in the right direction by analysts and developers.

  So far, Market has been the most criticized part of the Android ecosystem, according to Ben Wood, director
  of research at CCS Insight.

  [ Also on InfoWorld: Chrome OS vs. Android 3.0: Which platform will prevail? | Learn how to
  manage iPhones, Androids, BlackBerrys, and other smartphones in InfoWorld's 20-page
  Mobile Management Deep Dive PDF special report. | Keep up on key mobile developments and
  insights with the Mobile Edge blog and Mobilize newsletter. ]

  "Developers felt they haven't been able to monetize it in the way they have on Apple's App Store," said
  Wood.

  The browser-based version of Android Market will make it easier to discover new applications, according to
  Google. Previously the store was only available via a mobile phone client.

  Users can also send applications directly to their Android device and share applications with friends through
  Twitter, Google said.

  It is the latest in a line of improvements Google has been making over the last couple of months, including
  a new Android Market client and longer description texts for applications.

  "[Google] finally realized that there was a severe need to improve the Market, and that is good news," said
  Android developer Konrad Hübner said via e-mail.

  His favorite new feature is the ability to select an application, which then can be pushed automatically to a
  phone. Installing applications that way is "much more comfortable than the iTunes hassle," Hübner said.

  He isn't alone in thinking that the over-the-air installation of applications is a step forward. It is much


http://www.javaworld.com/...rl=http://www.javaworld.com/javaworld/jw-02-2011/110204-android-market.html&site=jw_core[6/14/2011 1:28:35 PM]
http://www.javaworld.com/javaworld/jw-02-2011/110204-android-market.html
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  smoother than downloading apps into iTunes on a desktop and then synching them with an iPhone,
  according to Fredrik Andersson, founder and business developer at Swedish consultancy Kondensator.

  An important part of the marketing of applications is distribution via social networks and the ability install
  directly after making a first impression, Andersson said via e-mail.

  He is looking forward to using in-app payments, which allows developers to make money from selling
  virtual goods or upgrades within their applications.

  The big challenge is to help users to find what they need among the myriad of apps available, according to
  Andersson. But that goes for Apple and the App Store, as well, he said.

  On Wednesday, Google also demonstrated Android 3.0 or Honeycomb, the upcoming version of the OS that
  has been tailor-made for tablets, expected to help products like Motorola's Xoom and LG's G-Slate compete
  with Apple's iPad.

  The increased competition will encourage the development of all platforms, and consumers will be able to
  benefit from that. The arrival of Android 3.0-based tablets will also allow Kondensator to develop new
  services that, for example, take advantage of the larger displays that tablets offer, Andersson said.

  A recent survey of apps developers conducted by Appcelerator -- whose Titanium platform can be used to
  develop cross-platform, native applications -- and IDC showed a growing interest in Android-based tablets.
  Interest jumped 12 points in three months to 74 percent of respondents saying they are "very interested" in
  developing for these devices, according to the survey.

  The Market improvements come at a key time for Android. On Monday, market research company Canalys
  said Android had passed Symbian to become the most popular smartphone OS.

  "Android has been a phenomenal success, probably beyond the wildest dreams that Google had for it," said
  Wood.

  The success of Android is the result of a wide variety of products, from low-end to high-end smartphones
  with very different hardware specifications. The next step should be the ability to target particular
  applications for certain devices, and allow them to take full advantage of dual-core processors and
  hardware acceleration. That is absolutely critical now, according to Wood.

  Send news tips and comments to mikael_ricknas@idg.com.



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http://www.javaworld.com/...rl=http://www.javaworld.com/javaworld/jw-02-2011/110204-android-market.html&site=jw_core[6/14/2011 1:28:35 PM]
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                  Exhibit U
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
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     Google unveils 10 huge improvements in 'FroYo,'
     Android 2.2                                                                                                            Apple and Nokia settle patent dispute,
                                                                                                                            but who wins?
     By Tim Conneally | Published May 20, 2010, 1:05 PM                                                                      Today, Nokia announced that it had resolved
                                                                                                                             all patent claims with Apple, which will pay
         Like Confirm   144   143                                                                                    on-going royalties to the Finnish phone maker. Apple
                                                1                                                 40 Comments
                                                                                                                     also will make a one-time payment to Nokia. Terms
                                                                                                                     of the agreement were not disclosed.

     At Google I/O this morning, the topic of discussion was mobile; specifically, the
                                                                                                                            "Restart to Safari" mode turns Mac into
     Android mobile platform. As of this morning, there are more than 60 consumer                                           overpriced web terminal
     devices running on Android, more than 100,000 new activations per day, 50,000 apps                                    The latest beta of OS X 10.7 "Lion" has a
                                                                                                                           feature to boot into Safari and only the
     in the Android marketplace, and 180,000 registered developers working on apps. Not                              browser. It's not useless, but it's not a good use of a
     too shabby.                                                                                                     Mac.


     As the platform continues its rapid growth, Google has announced a number of very                                      How much does it cost to migrate a
                                                                                                                            government agency to the cloud?
     significant improvements will be coming to the next version, numbered 2.2 but                                          This week, NOAA announced it is migrating to
     nicknamed "FroYo," which address key issues Android has dealt with in the past.                                        the cloud, and outlined how much it will cost
                                                                                                                     taxpayers.

                                                                                                                            Is it child abuse to give my kid a
                                                              1) Improved Speed -- Just as it was                           Chromebook?
                                                              rumored, the next version of Android will                      Larry Seltzer says: My nine year-old daughter
                                                                                                                             already uses Gmail on a Google Apps account.
                                                              have a JIT compiler, responsible for a                 I'm thinking of teaching her writing this summer. The
                                                              significant (2x-5x) speed boost.                       next logical question: Should she get a Chromebook?


                                                              2) Better Enterprise Support -- The
                                                              platform has lagged behind Windows
                                                                                                                            PBX Buyer's Guide: PBX the choice for
                                                              Mobile and BlackBerry in terms of                             Mid to Large Business
                                                              enterprise functionality, but FroYo will               This PBX Buyers guide explores the benefits of a PBX
                                                                                                                     based phone system over the other phone syst...
                                                              include over 20 new enterprise features.
                                                              These include better Exchange support,                        "Performance in the Cloud" Survey
                                                              with auto-discovery, improved security,                       Report
                                                              and GAL lookup, and new device admin                          Almost 700 businesses in North America and
                                                                                                                            Europe were independently surveyed to
     APIs.                                                                                                           understand wheth...


     3) Cloud-to-Device API -- Google services, Chrome extensions, and soon-to-be                                           2010 Midrange IP Phone Comparison
                                                                                                                            Guide
     released Chrome apps will be able to sync with your Android device. If you need                                 NEWLY UPDATED: Save time researching business
     directions from Google Maps, it can be sent directly.                                                           phones with our free Midrange IP Phone Comparison
                                                                                                                     G...

     4) Tethering -- This was also a rumored feature for a few weeks. The feature will be
                                                                                                                            Where is Your Risk?
     in the "settings" menu, and clicking "portable wi-fi hotspot."                                                         Insurers must combine information from
                                                                                                                     disparate systems, applications, and business units to
                                                                                                                     cre...
     5) New Browser -- The Javascript interpreter in Chrome will be used in FroYo's
     native browser, offering a 2x-3x Javascript performance boost. Google's Vic Gundotra
     said it will be the fastest mobile browser available.

     6) Install apps on SD memory -- One of the main problems people had with
     Android was that you could not install apps on your removable memory card, you
     were limited to the device's physical memory, which in some cases was quite limited.
     In FroYo, apps can be moved to, and launched from, the phone's SD card.




http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
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     7) Flash 10.1 and AIR support -- This one is not a surprise, as Adobe and Google
     have both said this would be coming.

     8) Web-based Android Market -- Without a doubt one of the weakest aspects of
     consuming apps on the Android Platform was that you were limited to only seeing
     what was shown on your mobile device's screen, which in most cases is not very
     appealing.

     9) App auto-updating -- When an app you downloaded gets updated, you would get
     a notification that there was an update available in the Market. You'd have to
                                                                                                                                If you're a juror, don't 'friend' the
     navigate to the market and click OK three or four times per update just to get it
                                                                                                                                defendant
     installed. In FroYo, there will be an "Update All" icon, and the ability to check "allow                                    From the Department of Incredible Stupidity:
     automatic updating" when you download a new app. Apps can be purchased on the                                               A juror in a drug trial in the UK will stand trial
                                                                                                                         herself this week for sending messages to a
     Web-based store and synced down to your Android device.                                                             defendant through Facebook, causing the trial itself to
                                                                                                                         collapse.
     10) Music Sync -- Even though it's got a decent media player, Android devices have
                                                                                                                                10" touchscreen monitor + 4" Linux PC =
     never had the music power that iPhone has with its built-in iPod functionality. With                                       MimoPlug
     FroYo, however, users will be able to sync their local music collection with their                                         Mimo Monitors, the company best recognized
     Android device and stream wirelessly.                                                                                      for its USB-powered touchscreen mini-
                                                                                                                         monitors released an equally miniature Plug computer
                                                                                                                         on Monday called MimoPlug.
         Like Confirm   144   143                                                                          40 Comments
                                                                                                                                HP executive shakeup prioritizes China,
                                                                                                                                India, and the cloud
                                                                                                                                Market-leading IT company Hewlett-Packard
     Comments                                                                                                                   (HP) announced Monday that it will be
                                                                                                                         reorganizing its corporate structure to fit with the
        View comments by            newest first              with a score of at least    -4
                                                                                                                         strategy shift it announced last March. Moving
                                                                                                                         forward, HP is prioritizing three businesses --hybrid
                                                                                                                         cloud solutions, connected devices, and
       bthis                           Is Google really releasing this major update with                  Score: 0       Management/Security/Analytics software -- and this
                                                                                                                         executive shift is a reflection of that.
       May 22, 2010 - 10:35 PM         out addressing Android's major Bluetooth Voice                          |
                                       Dialing failure? That's beyond irresponsible, way
                                       past-anti-customer. Two year old ROKRs have                                              Facebook plans early 2012 IPO, say
                                                                                                                                sources
                                       this basic functionality and Google can't step up                                        Facebook is reportedly set to go public in early
                                       with a fix after all this time!? Shame on Google.                                        2012, becoming the latest company to cash in
                                                                                                          Post Reply     on what seems to be a renewed frenzy surrounding
                                                                                                                         technology stocks.

            bthis                                  WRONG, BTHIS! According to the Android                 Score: 0
                                                                                                                                Microsoft builds mini Twitter analytics
            May 22, 2010 - 10:40 PM                Developer's site feature list                               |                app for Excel 2010 and PowerPivot
                                                   (http://developer.android...ights.html#UserFeatures                         Microsoft has released a tool called Microsoft
                                                   ):                                                                          Analytics for Twitter that lets users build their
                                                                                                                         own mini Twitter analytics engine with a the Excel
                                                   New Platform Technologies                                             2010 add-in PowerPivot.
                                                   Media framework
                                                   * New media framework (Stagefright) that supports                            Nvidia closes deal with Icera, acquires
                                                                                                                                baseband tech for Tegra 2
                                                   local file playback and HTTP progressive
                                                                                                                                Another major move in the mobile processor
                                                   streaming                                                                    space took place on Monday as Nvidia
                                                   * Continued support for OpenCore in Android 2.2                       announced it had completed its acquisition of Icera, a
                                                                                                                         wireless modem company dealing specializing in
                                                   Bluetooth                                                             baseband technology for smartphones and tablets.
                                                   * Voice dialing over Bluetooth
                                                   * Ability to share contacts with other phones                                Mozilla Nightly Tester Tools: When you
                                                                                                                                don't mind getting cut on the bleeding
                                                   * Support for Bluetooth enabled car and desk
                                                                                                                                edge
                                                   docks                                                                 Firefox and Thunderbird are now moving along fast
                                                   * Improved compatibility matrix with car kits and                     development cycles, and there are lots of geeks
                                                   headsets                                                              willing to test early, unstable builds. Mozilla has a
                                                                                                                         toolset for the earliest, riskiest adopters.
                                                   Yee-hah!
                                                                                                          Post Reply

            preinterpost                           Hmm... Who besides UPS and cab drivers or              Score: -3
            May 24, 2010 - 11:19 AM                'underprivileged minorities' trying to show off that        |
                                                   they can afford a cell phone cares about bluetooth
                                                   head sets?
                                                                                                          Post Reply

       dracodos                        Below viewing hreshold. Show                                       Score: -4
       May 21, 2010 - 10:58 AM         "Maybe you should do the same, eh dracodos?"
                                                                                                               |

                                       i'm sorry, were you talking to me?
                                                                                                          Post Reply

            Niro                                   No sorry I meant bopb99...                             Score: -3




http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
                            Case 3:10-cv-03561-WHA Document 172-3 Filed 06/14/11 Page 82 of 122
            May 21, 2010 - 11:13 AM                                                                   |

                                                                                                 Post Reply

       bopb99                        The OpenGL ES API improvements in this release              Score: 0
       May 21, 2010 - 9:42 AM        are a bigger thing for me than 1 - 5.                            |
       edited

                                                                                                 Post Reply

       nightops                      Hmmm...glad my 2 year with ATT is up this                   Score: -1
       May 21, 2010 - 8:26 AM        year...freedom of choice without ETF is nice. I'll be            |
                                     looking forward to seeing how this stacks up
                                     against the upcoming iPhone with OS 4.0.
                                                                                                 Post Reply

            Adrian79                      you honestly think this has a chance to run            Score: 0
            May 21, 2010 - 12:36 PM       smoother, look better, etc. than the upcoming               |
                                          iphone? I'm sure you will be extending your
                                          contract for 2 more years lol just like me come late
                                          June :P
                                                                                                 Post Reply

       jackamus                      OMG... An actual article on software.. I am                 Score: 0
       May 20, 2010 - 8:51 PM        shocked....                                                      |

                                                                                                 Post Reply

       ghammer                       If only someone would launch 4G in Indy...                  Score: -3
       May 20, 2010 - 4:48 PM                                                                         |

                                                                                                 Post Reply

       dreadlox                      Hehe - it's fun to notice all the Apple-fanboys             Score: 14
       May 20, 2010 - 4:07 PM        clicking frenetically on all the thumbs-down-icons               |
                                     on these fantastic news on Android :) Not a singe
                                     comment here has a positive score LOL!
                                                                                                 Post Reply

            HydrantHunter                 No kidding! I can't help but wonder if some            Score: 7
            May 20, 2010 - 5:03 PM        Android-fanboys aren't also pitching in, though.            |
                                          Seems l ke any opinion that suggests room for
                                          improvement gets knocked down at least 2 points.

                                          I gave your comment a +1, but someone else
                                          apparently needed to feel good about themselves
                                          and already voted your comment back to 0 while I
                                          typed this. Too funny.
                                                                                                 Post Reply

            Niro                          Below viewing threshold. Show                          Score: -17



       jfplopes                      Yes the above features are cool but frankly most            Score: 2
       May 20, 2010 - 3:45 PM        important to me is how they merged the Android                   |
                                     platform with traditional HTML content. Stuff like
                                     using google translate to translate live tv in real
                                     time.
                                     Or embedding voice search into a web page.
                                     Sending any content from a web page to an
                                     android device. That's what I think is a step up
                                     from what the competition has today.
                                                                                                 Post Reply

       lonechicken                   Hopefully the music player itself is better. On my          Score: -1
       May 20, 2010 - 3:30 PM        Droid, I get dropouts whenever I receive a text or               |
                                     any notification. Even when I turn off sounds for
                                     notifications. Crossfading control between songs
                                     would be nice too.
                                                                                                 Post Reply

            Niro                          Weird, my wife's Droid doesn't get any                 Score: 2




http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
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            May 20, 2010 - 4:01 PM        dropouts...but the default music player sure is           |
                                          ugly.
                                                                                               Post Reply

            Adrian79                      stop lying the droid is way better than iphone :P    Score: -2
            May 21, 2010 - 12:37 PM                                                                 |

                                                                                               Post Reply

            Adrian79                      stop lying droid music player is nicer than iphone   Score: -2
            May 21, 2010 - 12:41 PM       :P                                                        |

                                          I'm just helping out the droid fanboys spread the
                                          love
                                                                                               Post Reply

       HydrantHunter                 The JIT compiler, Apps2SD, auto-updating, and             Score: -1
       May 20, 2010 - 2:59 PM        faster browser definitely have my attention. Still no          |
                                     improvements to bluetooth, though? I was hoping
                                     they'd finally focus on the 'phone' part instead of
                                     the 'gadget' part. It would be more than nice to
                                     have true hands-free voice dialing via bluetooth
                                     and the ability to hear custom ring tones through
                                     bluetooth instead of a generic tone that does
                                     nothing to identify who's calling. As a 'phone' my
                                     old RAZR v3 beats the pants off both my Android
                                     'phones'. Bummer :(
                                                                                               Post Reply

       samiup                        cool news, cant wait to test drive it :)                  Score: 1
       May 20, 2010 - 2:03 PM                                                                       |

                                                                                               Post Reply

       PC_Tool                       Below viewing hreshold. Show                              Score: -5



            Niro                          You mean you think they'll reserve the more          Score: -3
            May 20, 2010 - 1:41 PM        effecient JIT compiler only for the faster                |
                                          processors that need it the least? Yea that makes
                                          sense...
                                                                                               Post Reply

            PC_Tool                       Below viewing threshold. Show                        Score: -10



            Niro                          LOL wow...offended easily? Must be that time of      Score: -3
            May 20, 2010 - 2:24 PM        month....                                                 |
            edited
                                          "I wouldn't be the least bit surprised to find the
                                          update only available on the 1Ghz android
                                          devices"...

                                          Considering one of the MAJOR improvements of
                                          this update is speed increase due to JIT, makes
                                          this update that much more valuable to slower
                                          processors...which would make me very surprised
                                          to find the update only available on the 1Ghz+
                                          android devices.

                                          Seriously PC...maybe rest is in order for you? You
                                          seem sensitive...

                                          OH sorry I made an assumption about the amount
                                          of sleep you get and you didn't mention sleep in
                                          your post! Don't get too mad again please!!
                                                                                               Post Reply

            dracodos                      PC_Tool: i know what you mean,.They want users       Score: 0
            May 20, 2010 - 3:01 PM        to have a "reason" to upgrade their devices to            |
                                          something a bit newer. Not pushing an OS update
                                          that has some "wanted" features to older devices
                                          would give users a reason to buy a new handset



http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
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                                         (thus signing a new contract).

                                         I have heard though that adobe is saying that the
                                         minimum requirements for flash 10.1 to run well on
                                         an android device is 600mhz. The Eris is 528mhz,
                                         can't recall what the Droid CPU speed is though..
                                         A tool like SetCPU would make that point moot,
                                         but i would like to see a benchmark comparison
                                         between a 528mhz CPU (Eris) and a device that
                                         runs at 600mhz or higher.
                                                                                                Post Reply

            bopb99                       Then why are the older Android versions very      Score: -3
            May 20, 2010 - 3:05 PM       abundant on some phones that according to your         |
                                         logic shouldn't be, care to answer Niro?
                                         You, Niro, should look at how markets evolve with
                                         this kind of stuff.
                                         Search about the 2TB bootable drive limit.
                                         It's a more pressing issue but do the companies
                                         get stuff sorted out?
                                         No they don't!!
                                         AAAAAAAAAAAAAAARRRRRRRRRRRRRRRRRRRRGGGGGGGGGGGGGHHHHHH!!!!!!!
                                                                                           Post Reply

            PC_Tool                      Below viewing threshold. Show                          Score: -6



            Niro                         "Sure...because the wireless carriers have been        Score: -3
            May 20, 2010 - 3:58 PM       known to be *so* benevolent.... How's that G1               |
            edited                       doing with it's abundant Android updates?"

                                         It seems to be doign well if you feel like upgrading
                                         it on your own...

                                         http://denraf.be/content...-android-21-g1adp1dream

                                         Anyway from what i understand google is planning
                                         on making android upgradeable through the
                                         android market place, and MS is going to use the
                                         MS Update site for updates to it's WM7 platform.

                                         "But but but...how will carriers force you to buy
                                         new phones now?!!?!"

                                         Did my prediction of your next post annoy you?
                                         Getting so annoyed by some random guys slightly
                                         sarcastic post on some site...Cute, PC.

                                         "You, Niro, should look at how markets evolve with
                                         this kind of stuff."

                                         Maybe you should do the same, eh dracodos?
                                                                                                Post Reply

            PC_Tool                      Below viewing threshold. Show                          Score: -7



            Niro                         "Looks like you really do need a new crystal ball."    Score: -1
            May 20, 2010 - 8:02 PM                                                                   |
                                         Not sure what you mean there, PC...crystal balls
                                         are used to predict a future without factual
                                         backing...I, however. said they're changing the way
                                         updates are rolled out, which is fact, didn't even
                                         have to dig in my closet to pull out my crystal ball
                                         for that one.

                                         Looks like you really do need to learn how to read
                                         actual news...you might find yourself surprised less
                                         often.
                                                                                                Post Reply

            PC_Tool                      ""Looks like you really do need a new crystal ball."   Score: -3
            May 21, 2010 - 9:23 AM                                                                   |
                                         Not sure what you mean there, PC...crystal balls
                                         are used to predict a future without factual




http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
Google unveils 10 huge improvements in 'FroYo,' Android 2.2
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                                         backing"

                                         "But but but...how will carriers force you to buy
                                         new phones now?!!?!"

                                         Did my prediction of your next post annoy you?

                                         Huh... clear things up for ya?

                                         Looks like I need to stop reading your
                                         comments...I might find myself having to explain
                                         basic reading comprehension less often. :)
                                                                                                  Post Reply

            bopb99                       And how is google going to force the carriers            Score: -2
            May 21, 2010 - 9:46 AM       then?                                                         |
                                         Looks like your crystal ball needs some new
                                         insights.
                                         It is also revealing you don't know as much about
                                         this as you should be confident to talk about.
                                                                                                  Post Reply

            Niro                         Below viewing threshold. Show                            Score: -4
            May 21, 2010 - 10:16 AM      "And how is google going to force the carriers
                                                                                                       |
            edited                       then?"

                                         hm Bob?

                                         Force the carriers to what? submit to their sexual
                                         desires?

                                         I'm not making things up, you can go ahead and
                                         use the google machine to look it up. Google will
                                         use the android store to update their phones, and
                                         MS has already said the MS Update site will be
                                         used to update their phones...taking it out of
                                         carriers hands. I suppose carriers can still micro
                                         manage certain things maybe (l ke tethering?), but
                                         OS updates to the phone will be out of their
                                         hands...much like the iphone is now...not so hard
                                         to understand...I guess for you it's mind boggling
                                         though.

                                         "It is also revealing you don't know as much about
                                         this as you should be confident to talk about."

                                         Hey PC...can you teach me the reading
                                         comprehension skills required to understand this
                                         sentence?

                                         Thanks.
                                                                                                  Post Reply

            PC_Tool                      Sorry, Niro... While I know the words themselves         Score: -2
            May 21, 2010 - 11:31 AM      are English, well...                                          |

                                         Yeah. ;)
                                                                                                  Post Reply

            gorgeth                      The problem is that google has not been "forcing"        Score: -2
            May 21, 2010 - 12:36 PM      updates at all on any devices once they are out               |
                                         they are up to the carrier and the device maker ..
                                         and in traditional cell phone style, the rollout of
                                         android updates has been.. horr ble across the
                                         board.. IE it doesn't matter what the update does,
                                         or how much it improves or doesn't improve the
                                         devices.. the carriers would rather you toss your
                                         old device in the bin and grab a fancy new one..
                                         rather than updating the old.. (this is not limited to
                                         any particular brand or OS on phones.. its merely
                                         industry standard behavior)
                                                                                                  Post Reply

            gorgeth                      You are aware that that is not about versioning of       Score: -2
            May 21, 2010 - 12 56 PM      the base operating system, merely about them                  |




http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
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                                         moving the bu k of the "apps" that are installed by
                                         default to the app store, and stripping down the
                                         actual "android base" to a much smaller core, so
                                         that they could iterate the builtin apps faster and
                                         not have to deal with "carrier approval/testing red
                                         tape" just to do minor updates to apps that are
                                         included.

                                         If your on 2.2 you will still require a
                                         carrier/manufacturer update to go to 2.3/3.0
                                         whatever. in addition HTC will still not be updating
                                         sense on every minor tweak that is done, nor will
                                         motorola be tweaking "motoblur" for every minor
                                         update, as such you will still be relying on
                                         carrier/manufacturer when it comes to "will my
                                         XXX from htc/moto ever move off of android
                                         1.5/1.6 or will i be forced into buying Droid 2.0 to
                                         get a relatively recent vintage of the OS?

                                         Reading the articles and info on s*** before you
                                         post in fanboi style could have prevented this
                                         entire thread from devolving into this mess.

                                         Heres the "details" regarding android changes..

                                         Today android consists of the kernel, the drivers
                                         that are manufacturer specific, and the "apps" that
                                         are included.. these are basically monolithic
                                         releases .. 1.5 is all of the above, 1.6 updates
                                         everything, etc.

                                         There is also 2 more layers of stuff on top of this
                                         such as HTC's sense and motorola's MotoBlur
                                         which are built to a specific snapshot of android
                                         and are NOT updated via the app store today or in
                                         the future) As well as any carrier specific apps,
                                         customizations, whatever they tend to do (be it
                                         tmobile adding in a myfaves app, or partner
                                         specific apps whatever) these are also generally
                                         NOT installable through the app store.

                                         In the future there will be 4 layers rather than 3:

                                         Android Core will be the key to version numbers
                                         this will *not* for example include anything that
                                         GOOGLE chooses to be an app, but it will include
                                         stuff that google wants to hold close.. for example..
                                         the Browser may be an App in our minds, but if
                                         google chooses they can keep it in the core OS..
                                         this layer will still require
                                         testing/verification/certification by both carriers and
                                         manufacturers before release, as well as a flashing
                                         procedure to update.. IE not available from the
                                         android market today or in the future.

                                         Android Apps layer will be all the stuff google
                                         wants to take out of the current releases of
                                         "android" and put into the android market so they
                                         can be iterated as needed (at present theres not
                                         alot here and it will l kely still require the android
                                         core layer to be carrier updated before you can
                                         update to for example a "new and sexy
                                         browser/dialer/contact app"

                                         Motoblur and Sense will still be tied to a core
                                         revision of android, and will likely change far
                                         slower than either of the above layers (inserrt
                                         other lesser known "total mods" for android in this
                                         level, today these updates tend to be infrequent
                                         and major changes are only done with new models
                                         and rarely backported (as was seen in touchFLO
                                         and the other windows mobile skins) these
                                         updates are l kely to be "flash rom updates" as
                                         with the core android OS and released in sync
                                         with them.

                                         Carrier branding/partner apps rarely see much



http://www.betanews.com/article/Google-unveils-10-huge-improvements-in-FroYo-Android-22/1274374860[6/14/2011 1:30:13 PM]
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                                          changes, and are generally released in concert
                                          with the above core/skin updates since all 3 of
                                          these tend to be done at once IE Android goes
                                          from 1.6 to 2.1 htc/moto/samsung update their
                                          skins, then the carrier branded apps are updated
                                          to work with the previous 2 (usually require a rom
                                          update/certification/etc

                                          In short of the 4 layers of "android" exactly 1 small
                                          portion is being moved to the "market update"
                                          model, and even then its unlikely that those
                                          updates will survive between major version
                                          changes of the underlying core (you wont be able
                                          to install ultrasexynew JIT compiler on 1.6 if it
                                          requires 2.2 even if they move that to the market.
                                                                                                  Post Reply

       dracodos                      I can only HOPE that Verizon will, at the very               Score: 0
       May 20, 2010 - 1:31 PM        least, deploy this update to the Droid Eris, even if              |
                                     it would be the last official update from them.
                                     Ther's just too many GOOD changes in this latest
                                     version: ie better exchange support, the 2x speed
                                     increase, built in apps2sd like feature, and full
                                     flash support!
                                                                                                  Post Reply

       borisof007                    Nice! Can't wait for a number of these features,             Score: 1
       May 20, 2010 - 1:20 PM        namely the speed increase (JIT), browser speed                    |
                                     increase, and auto updating (hitting OK 20 times a
                                     day is getting annoying). Not to take away from
                                     Flash 10.1, tethering, and installing apps on the
                                     SD card : )
                                                                                                  Post Reply

            mapexpert                     I am a web developer and had a 2 month project          Score: 0
            May 28, 2010 - 8:18 AM        testing both solutions after reading the outcome of          |
                                          the IMFA regarding European business mapping
                                          providers.

                                          I noted that the free Google solution took twice as
                                          long to develop, had only basic Geocoding and
                                          everything else had to be developed from scratch
                                          I.e. criteria search, database management. Still
                                          Google business customers both paid (up to
                                          £7800) a year and free (if the solution will not be
                                          re sold (i.e. vehichle tracking) have no access to
                                          the UK postcode data from the royal mail as
                                          Google are no licensed (hence the often appalling
                                          accuracy) with only 4 digit postcode verification.

                                          In a positive, Google is a pretty basic platform and
                                          for the most part is free to use and widely
                                          available and recognised.

                                          The API platform from ViaMichelin (used a mixture
                                          of javascript skills) was offered to me on a free
                                          trial for 45 days and took only a few weeks to
                                          complete, Geocoding for address verification was
                                          included (so ideal for store finder, reserve and
                                          collect, etc and gave me access to live human
                                          support (to see what else I could do with their api).
                                          They provided me a platform with full Europe
                                          coverage and geocoded Ireland which Google
                                          could not offer for a price cheaper than the
                                          Google enterprise and premier.

                                          Bing fell behind when it came to customer support
                                          as it was non existent and the former multimap
                                          owned company owned by microsoft took just over
                                          the 2 months to get back to me.

                                          Like for like, The new ViaMichelin API solution
                                          wins, For a basic solution use Google, for
                                          business's looking for real quality use Viamichelin
                                                                                                  Post Reply




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                  Exhibit V
Top 5 Improvements in Android 3.0 | Tablet Squad
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                                                                                                       Oak Trail Tablets Target Corporate Market


                                                                                                       Asus Eee Pad Transformer Review


                                                                                                       7-Inch Honeycomb Tablets from ASUS and

                                                                                                       ViewSonic


                                                                                                       Top 10 Android Tablets 2011
      Android 2 has not worked all that well with tablets. One of the main reasons is that the
      operating system is not optimized for larger screens. Even Google itself has admitted that
      apps made for Android 2.x doesn’t look overly attractive when presented on displays
      significantly larger than those of a smartphone.

      Android 3.0 Honeycomb changes that and Google has made a great effort to get the
      operating system adapted for tablets. The interface is also completely revised and there are
      very few similarities compared to earlier versions of Android.




http://www.tabletsquad.com/top-5-improvements-in-android-3-0/[6/14/2011 1:31:02 PM]
Top 5 Improvements in Android 3.0 | Tablet Squad
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      Here are some of the top reasons why Android 3.0 is gearing up to be a worthwhile
      competitor to Apple’s iOS running on the iPad:

      1. Improved Widgets
      While widgets are certainly not new to Android, the support for them is greatly enhanced in
      Android 3.0. By having widgets installed on your home screen they offer a quick overview
      of information that is updated in real time, such as weather and social networking.

      2. Better browsing with tabs
      Android 3.0 supports tabbed browsing, unlike iOs. This means a more desktop-like practical
      experience with quick and easy switching between different websites with only one press
      on the screen. There is also no limit to how many tabs you have open.

      3. Better Navigation
      Instead of using hardware buttons on earlier versions of the operating system, Android 3.0
      uses virtual buttons for navigation. It provides more flexibility and better functionality for the
      tablet for a variety of uses, including switching to and from landscape mode.




      4. Enhanced Keyboard
      The Virtual Keyboard in Android 3.0 has received a considerable facelift. The keys have a
      better design and location compared to Android 2.x. There is also a dedicated button to




http://www.tabletsquad.com/top-5-improvements-in-android-3-0/[6/14/2011 1:31:02 PM]
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                          Case 3:10-cv-03561-WHA Document 172-3 Filed 06/14/11 Page 92 of 122
      quickly creat voice recordings.

      5. System Overview
      System Messages have also improved significantly in Android 3.0. By clicking on an icon at
      the bottom of the screen, a box appears with all the system messages. All system icons
      are clickable, which makes it easy to quickly change settings in the operating system.

      No related posts.



              Android 3.0




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           Exhibit W
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                  Exhibit X
j2me compatibility between different manufacuturers                      Page 1 of 2
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    Device specifications                                                                                            Thread T
    Tools centre
    Library                              j2me compatibility between different manufacuturers - 2002-11-14 08:55
    Knowledge Base                    rolfsmeds                               Are J2ME applications designed for No
    Learning                                                                  phones from other manufacturers?
                                      Registered User
    Developer programs




                                      Join Date:    Mar 2003
                                      Posts:        1




                                         RE: j2me compatibility between different manufacuturers - 2002-11-14 16:03

                                      LongSteve                               In theory yes.

                                      Regular Contributor
                                                                              You should be able to write a Java mi
                                                                              compatable devices.

                                                                              The practice however is far from that
                                                                              entry/reporting, you are going to fall
                                                                              opportunity. You get differences in sc
                                      Join Date:    Mar 2003                  heap sizes, different bugs in the imple
                                      Location:     UK                        interpretations of the specifications.
                                      Posts:        231
                                                                              That's a very negative picture, I'm so
                                                                              differences, you can program with the
                                                                              tools, produce versions of your progra
                                                                              just not as simple as Sun would like y
                                                                              any platform.




http://discussion.forum.nokia.com/forum/showthread.php?11133-j2me-compatibility-betw... 6/14/2011
j2me compatibility between different manufacuturers                      Page 2 of 2
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                                                                         Cheers,

                                                                         Steve

                                      + Reply to Thread



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                  Exhibit Y
Lack of MIDP Quality Control And Standardization Sucks - RussellBeattie.com Page 1 of 2
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 Sucks
 (http://www.russellbeattie.com/blog/1005717)
 Posted Saturday, January 10, 2004 10:19 am




 More on J2ME: Steve at Burning Door reviews the first couple of MIDP 2.0 phones and doesn't get much joy
 (http://www.burningdoor.com/steve/archives/000324.html). I'm with him. We ran into this very problem below just
 yesterday at work and it *sucked*: ... the list of known issues in the nokia 6600 MIDP implementation are atrocious. Nokia
 uses SUN's Monty VM in their implementation so some of these things are perhaps not their fault, but it definitely shows a
 lack of testing and a rush to market. Understood but not totally forgiveable in this market. I don't know if the P900 uses this
 VM or another VM.

 There are other things that definitely are their fault from a lack of testing. A prime example is not implementing the
 MIDlet.platformRequest() method which is new and has prevented my feed reader from running on this phone. Calling this
 method with the right parameters is supposed to either make a phone call or launch the default browser. It currently crashes
 the 6600 - and unless Nokia provides a way for users to update their own firmware, it's going to leave a whole lot of phones
 that don't really support MIDP2.0. Couldn't they have gotten a programmer to pull an all-nighter and gotten this right? The
 sun was probably up all night anyway in Finland since this was released in the Summer. Not supporting the platformRequest
 was a real bummer. But the worst bit is the way the app that uses the call fails: It crashes! Urgh! Try the API call the first
 time and it doesn't do anything. Click again, and it kills the app "App. closed MontyThread - 6 KERN-EXEC 3!" Are you
 kidding me?!?! I've run into this type of crappy J2ME implementation before on the Nokia 3650 with the sockets problems I
 had, but that was using an "unsupported feature." This is a MIDP 2.0 requirement and it *crashes* the app. No errors, no
 recovery.

 I don't get it, I really don't. *None* of the MIDP games I have from my 7650/3650 work properly on the 6600. WHY?? And
 now we're trying to do development using the new spec which is supposed to help with many of these problems, and the
 phone dies. That sucks.

 And the reality is this same game is played per phone out there. That's insane. It's nuts enough to "write once, debug
 everywhere" when you're talking about PC platforms, of which there's just a handful. Now we're talking about *hundreds*
 of Java phones. And this type of behavior is classic - where the app crashes, or just doesn't respond to an API call, rather
 than gracefully die or error out. So you can't put a few lines of code in your app to test for phone versions or gracefully back
 out of problems. No, you've to got write and test for each phone (or really series of phones, since the 7650/3650/N-Gage are
 about the same) and deliver essentially a different app. Yes, there's a ton of code reuse, however there's also massive
 problems with branching your codebase and keeping track of different updates, bug fixes etc.

 Anyways, I probably wouldn't be sooo annoyed if that one feature wasn't so useful (shelling out to a WAP Browser from
 within your J2ME app), but when they screw up so badly on one of the most useful new features of MIDP 2.0, you just
 know that the whole J2ME process is just broken.




http://www.russellbeattie.com/blog/1005717                                                                            6/14/2011
Lack of MIDP Quality Control And Standardization Sucks - RussellBeattie.com Page 2 of 2
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 That PDF of issues from Nokia is an embarassment to them and to Sun. This is Nokia's *flagship* phone, and its Java
 support blows chunks. How much more of sign do you need?

 -Russ


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http://www.russellbeattie.com/blog/1005717                                                                      6/14/2011
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                   Exhibit Z
J2ME sucks                                                               Page 1 of 2
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                               Odi's astoundingly incomplete
                               notes
                               New entries | Code

                               J2ME sucks

                                I have recently changed jobs. Now I find myself writing code for
                                mobile devices - speak cell phones. What I did not know before is:

                                   • J2ME replaces the JDK and only supports a tiny subset of the
                                     1.4 API.
                                   • Not even all language constructs may be used on a cell phone
                                     VM. For instance there is no float or double type if the cell
                                     phone has no FPU.
                                   • The emulator of the J2ME tool kit is a piece of crap
                                   • Usability of cell phones sucks a great deal

                                All this is very frustrating. After years of evolution of the Java
                                platform we are finally back to stone age. I have to emulate floating
                                point maths! I can not use java.text.* to parse and format dates
                                even though every silly phone has a built-in organizer! No collections
                                - only this stupid Vector class! No reflection! Emulation on a 1.6
                                GHz machine is slower than on the embedded cell phone hardware! I
                                can not profile my applications in real time but have to use the
                                emulator built-in profiler (which is crap)! The emulator is completely
                                skinnable to look like any bloody phone in the universe but it's
                                usability is that of Word Perfect for DOS from 1988. Oh thou mobile
                                device vendors, please tell me why I would want to write code for a
                                platform that poor.


                                          posted on 2005-07-25 20:37 CEST in Code | 7 comments |
                                                                                        permalink

                                 mobbies suck anyway...

                                 I guess you're building a smokescreen in pretending to work in
                                 stone age. Be honest and admit that your sitting on a bonanza
                                 and that your programming adult content. Obviously, a market
                                 woth $42800000000.-. However, mobbies still suck.
                                 mad
                                 http://news.bbc.co.uk/2/hi/technology/4717627.stm

                                 Logistics software actually... very boring.

                                 Don't be gross. I'd been a logistics engineer for many years.
                                 Unfortunately, it's a highly underrated field. However, this makes
                                 it the perfect place for re-framing and re-imagine. Everyone can
                                 make flashy things with flashy tools. But who can create true
                                 beauty out of mud. Odi, this is your chance to become the god of
                                 logistics.
                                 mad

                                 "Boring" compared to "adult content" :-)




http://www.odi.ch/weblog/posting.php?posting=135                                             6/14/2011
J2ME sucks                                                               Page 2 of 2
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                                 I almost completely agree... so, now you can imagine what I had
                                 to do during the last 2 years. No wonder that the code sucks (of
                                 course not only because of that ;-)

                                 if j2me is successfull google would not relase a product named
                                 anroid. I love java , but client side java sucks in every platform
                                 (applet , j2me , desktop )

                                 javacream.blogspot.com

                                 Add comment




http://www.odi.ch/weblog/posting.php?posting=135                                               6/14/2011
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                Exhibit AA
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            BEA
            Hyperion
            JD Edwards EnterpriseOne
            PeopleSoft Enterprise
            Primavera
            See All …


   • Downloads
     Application Development
     Databases
     Framework
                                Java ME Tools: The State of the Union, Q2 2009
   •        Database 11g
            Database
     Application   Express10g Express Edition
                                  By Bruce Hopkins, June 2009
   •        MySQL
            Berkeley
     Business            DB
                Intelligence
   •        Instant Client        This article demonstrates that Java ME developers have a wide array of choices -- in addition to the full-featured Java ME SDK (which replaces the well-
            Application Expressknown Wireless Toolkit) -- to create and test applications.
     Cloud Computing
   •        See All …
     Communications               Contents
   • Middleware
            Fusion
     Database                  & -11g
                       Middleware
                 Performance        Sun Java ME SDK 3.0
            (incl. WebLogic) - NetBeans 6.5 IDE
     Availability
   •        JRockit               - MOTODEV      Studio for Java ME
            SOA Suite
     Data Warehousing             - Nokia S60, S40, and NFC SDKs
   •        See All …             - BlackBerry  JDE  4.7
     .NET                         - Sony Ericsson SDK 2.5 for Java ME
   • Enterprise Management        - LG  SDK  1.2 for Java ME
     Dynamic    Scripting Manager- Java ME SDK Comparison Matrix
            Enterprise
            Application Testing-Suite
     Languages                      Conclusion
   •        See All …
     Embedded
                                  Let's say that you've come up with an idea for a great Java ME application--in fact, the next killer Java ME application. And let's also say that your new
   • Servers and Storage Systems
            Solaris               application will use some of the cool new graphical and multimedia features in the JavaFX APIs. If so, then which SDKs that are available today support
     Enterprise   2.0
            Linux    and  VM      JavaFX Mobile development? If more than one SDK supports JavaFX, then what's the difference between them, if any?
   •
            Firmware
     Enterprise   Architecture
   •        See    All …




http://www.oracle.com/technetwork/articles/javame/stateoftheunion-138337.html                                                                                                  6/14/2011
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     Developer Tools
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     Enterprise Management
   • Support                    Now, let's say that your idea incorporates and leverages some of the security features provided by the Security and Trust Services API (SATSA). If so,
     Grid Computing             then which SDKs that are available today allow you to compile your application using those APIs? Additionally, what if you want to create a Java ME
   • Support Services           game that renders OpenGL ES scene graphs? How can you determine which Java ME SDKs provide support for OpenGL ES development? As you can
     Identity Oracle Premier Support
              & Security        imagine, the Java ME platform is huge, robust, and versatile--it allows you to create compelling 3D games, mobile streaming media players, as well as
   •          Advanced Customer    Services
                                serious  business applications that can connect you back to the enterprise.
     Java Unbreakable Linux
   •                            Therefore, the purpose of this article is to give you a representative sample of the Java ME tools that are available, and provide a brief run-down of their
     Support Resources
     Linux                      features and benefits. This article concludes with a Java ME API compatibility matrix, which can serve as a handy reference tool in the months to come.
   •          My Oracle Support So let's get started!
              Communities
     Service-Oriented
              Patches
     Architecture
              Knowledgebase
                                Sun Java ME SDK 3.0
   •
              Service Requests
     SQL & PL/SQL
                                The Sun Java ME SDK 3.0 is considered the de facto standard SDK when it comes to mobile application development. The Java ME SDK is the
   •
     Documentation              culmination of the very popular Java Wireless Toolkit for CLDC and the Java Toolkit for CDC. Now integrated as a single product, the Java ME SDK
     Server  and Storage
                                allows developers to create Java ME applications for the following JVM platforms:
     Administration
     Acquired Company Support
   •                                  • CLDC/MIDP: The common JVM configuration for hundreds of millions of mobile phones
     Server and Storage               • CDC/FP/PBP/AGUI: The JVM configuration for high-end smart phones and other devices
     Global Support Contacts
     Development                      • CDC/FP/PBP/BD-J: The JVM configuration for Blu-ray Disc players
   • Development Support Tools
     Systems Hardware and The Java ME SDK is one of the few SDKs available that is device agnostic. (However, it does provide various generic device implementations so you
     Architecture
     Lifetime Support Policy    can debug and test your application.) Starting with a device-agnostic SDK is an advantage, since it allows you to develop and debug the application
   •                            before it is made device specific. To target your application to a specific Java ME implementation, add that specific implementation to the Java ME SDK
     Virtualization
     Technical Support Policiesusing the Platform Manager. Figure 1 is a screenshot of the Java ME SDK 3.0 showing the capabilities of the default emulated JavaFX phone.




http://www.oracle.com/technetwork/articles/javame/stateoftheunion-138337.html                                                                                               6/14/2011
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            Sun Documentation
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Figure 1 - Java ME SDK 3.0
       Newsletters

The Java   ME SDK now includes an IDE, so you can develop and test your applications within the same application
         Events
environment. Be sure to note that the Java ME SDK does not support the development of JavaFX applications, but
         Pre-Built
it does include twoDeveloper
                     emulatedVMs  JavaFX 1.1 phones (one with a touch screen and one without) to allow you to run and
test your JavaFX Mobile applications. To create JavaFX Mobile applications, you need to use the NetBeans IDE,
which isTechnology    Network
          described later         Blog
                            in this article. One of the major differences between the EA (early access) release and the
production release of the Java ME SDK 3.0 is the process you use to configure the SDK for Blu-ray development.
         Discussion
The production       Forums
                 version   now includes the BD-J libraries in the distribution, so developers can create and compile
                Database
Blu-ray applications   "out ofand
                                theSQL
                                     box." Previously, you had to go through a manual process to add the BD-J libraries
                Oracle
(commonly referred     to Fusion   Middleware
                          as bdj.jar)      to the SDK. This of course means that now there are no barriers to entry for
any Java developer to get startedManager
                Oracle    Enterprise    in BD-J application development.
                Developer Tools
One of the mostTechnology       Network
                   useful features         Feedback
                                      in the Java ME SDK 3.0 is the ability to perform on-device debugging for your
applications. ToSeeuseAll …feature of the SDK, you need a Windows Mobile 6 device. As you can imagine, the
                        this
debugger VM gives you the ability to step through your application while it's running on a real device, which can be
extremelyProduct
            usefulTechnical
                   when you're Infotrying to debug an issue that won't show up in an emulator, but will show up when
                Oracle
deployed on a real        Database Enterprise Edition
                     device.
                Oracle Fusion Middleware
                Oracle Enterprise Manager
NetBeansApplications
                   6.5 IDETechnology
                Developer Tools
                See on
If you need to work   All …
                          the visual aspect of your mobile application, the NetBeans 6.5 IDE provides you with several
viable options. First of all, if you're creating a JavaFX Mobile application, NetBeans is the premier SDK that will
         Topics
allow you to author, edit, compile, and test JavaFX applications. As you might already know, the basic tenet of
                Cloud
JavaFX is to give   developers the ability to create not only desktop applications, but web-based and mobile
applications as New
                 well, to Javathe same API framework. Figure 2 depicts how easy it is to change the properties of
                        using
                Security
your JavaFX project to test it in a web, desktop, or mobile context.
                SOA
                Virtualization
                See All …

       Sample Code

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     •

Oracle Technology Network Articles




Figure 2 - NetBeans 6.5 IDE Allows JavaFX Developers to Run Their Applications in Multiple Contexts


The NetBeans 6.5 IDE also includes the Mobility Visual Designer. The Mobility Visual Designer is a WYSIWYG
(what you see is what you get) tool that gives developers the ability to drag-and-drop in order to create the flow and
screens of their mobile application. The following is a list of displayable items that are included in the
org.netbeans.microedition package, which comes included in the Mobility Visual Designer:

     •   Alert
     •   File Browser
     •   Form
     •   List
     •   Login Screen
     •   PIM Browser
     •   SMS Composer
     •   Splash Screen
     •   Text Box
     •   Wait Screen

The Mobility Visual Designer also has extensive support for SVG graphics, which allows you to easily create mobile
applications that can render vector graphics or play SVG animations. Figure 3 is a screenshot of the Mobility Visual
Designer in the NetBeans 6.5 IDE.




Figure 3 - NetBeans 6.5 IDE Visual Mobility Designer


MOTODEV Studio for Java ME
The MOTODEV Studio for Java ME is a Java ME SDK that gives developers several new and exciting features to
author, edit, and test mobile applications. As you would expect, the MOTODEV Studio includes some features that
are specific for Motorola Java ME devices, but it also includes some external services that are useful when testing
any Java ME application, for instance:

     •   Bluetooth Service
     •   Landmark Storage
     •   Location Service
     •   Remote Control (Bluetooth)




http://www.oracle.com/technetwork/articles/javame/stateoftheunion-138337.html                                            6/14/2011
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     • SIM Configuration
     • SIP Proxy
     • WMA Server

The external services provided by the MOTODEV Studio for Java ME allow you to simulate realistic external events
without necessitating the deployment of your application to a real mobile device. For instance, the Bluetooth
Service incorporates the Rococo Bluetooth simulator, which allows you to create simulated Bluetooth devices
within the environment of the MOTODEV Studio. Figure 4 is a screenshot of the Bluetooth Service in action.




Figure 4 - Bluetooth Simulator Service in the MOTODEV Studio for Java ME


Now if you're targeting your application for any specific Motorola handset or mobile device, the MOTODEV Studio
provides some very useful features, such as complete device profiles for all handsets as well as a device capability
matrix to indicate which capabilities each device supports. (IDEN devices are not supported.) The MOTODEV
Studio also allows you to perform on-device debugging to real Motorola handsets if you have a supported handset
and a USB cable.

Nokia S60, S40, and NFC SDKs
For Java ME developers, Nokia provides three SDKs to enable the development of the next-generation mobile and
wireless applications. The S60 SDK includes tools such as an SVG to SVG-Tiny converter, which is very useful if
you plan to use the JSR 226 API in your mobile application to display vector graphics. Just like some of the tools
mentioned previously, the S60 SDK provides a framework for on-device debugging, but the S60 SDK provides an
additional capability that the others don't provide: redirected System.out and System.err statements. For
traditional Java SE or Java EE applications, you get the luxury of looking at your System.out and System.err
statements to get an idea of what's going on in your application without having to use a debugger. Therefore,
having the ability to view your System.out and System.err statements from a mobile handset is a very useful
feature. The S40 SDK includes the Nokia Connectivity Framework, which is a handy tool that allows you to
simulate both Bluetooth and SMS messages sent to your emulated application.

If you're looking to get started with wireless smart card development, you're going to get excited about tools
provided in the S40 Nokia 6212 NFC SDK. The S40 Nokia 6212 NFC SDK not only supports the JSR 257 API, but
also allows you to simulate the presence and absence of virtual smart cards. The SDK also supports OMNIKEY
and PEGODA smart card readers that are connected to your desktop computer. This enables you to quickly
prototype your application and test it with real NFC smart cards. Figure 5 is a screenshot of the S40 Nokia 6212
NFC SDK.




Figure 5 - S40 Nokia 6212 NFC SDK




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BlackBerry JDE 4.7
The BlackBerry JDE 4.7 provides a comprehensive environment to develop and test mobile applications that run on
BlackBerry handsets. To aid developers with their individual projects, the BlackBerry JDE 4.7 includes more than
50 example projects that use and leverage the implemented Java ME JSR APIs and the additional BlackBerry
APIs. The additional BlackBerry APIs are a powerful feature-set that allow the developer to perform a host of tasks,
such as manipulating the built-in web browser, data compression, controlling the video recorder, and advanced
data encryption. The JDE 4.7 comes bundled with a simulator for the BlackBerry 9500/9530 devices, which was
one of the first Java-enabled devices to incorporate touch input, so the included simulator is capable of reacting to
the following events:

     •   The presence of a USB connection
     •   The presence of a headset
     •   The presence of a holster
     •   Touch input from the user
     •   Changes in orientation (tilting the device)
     •   Battery levels
     •   The insertion or removal of an SD card
     •   Incoming voice calls
     •   Changes in GPS location
     •   Usage of the camera

Figure 6 shows a screenshot of the BlackBerry JDE 4.7.




Figure 6 - BlackBerry JDE 4.7


Sony Ericsson SDK 2.5 for Java ME
If you want to focus on full-featured JSR implementations, you should take the time to play with the Sony Ericsson
SDK 2.5 for Java ME. This is especially the case if you need a Java ME implementation that supports all of the
JSR 177 Security and Trust Services API (SATSA) optional packages:

     •   SATSA APDU: For basic communication with Java Card applets on the SIM card
     •   SATSA Crypto: For encryption
     •   SATSA PKI: For digital signatures
     •   SATSA JCRMI: For RMI communication with Java Card applets on the SIM card

The Sony Ericsson SDK 2.5 for Java ME also provides extensive support for 3D graphics and animation with its
support for JSR 184 (Mobile 3D Graphics), JSR 239 (Java Binding for OpenGL ES), and Mascot Capsule API.
Additionally, if you are looking for ways to capitalize on your intellectual property, the Sony Ericsson SDK 2.5 for
Java ME is one of the few SDKs that support JSR 229 Java Payment API. Figure 7 depicts the Sony Ericsson SDK
2.5 when integrated into the NetBeans 6.5 IDE.




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Figure 7 - Sony Ericsson SDK 2.5 for Java ME


LG SDK 1.2 for Java ME
The LG SDK 1.2 for Java ME is definitely the "new kid on the block" when it comes to Java ME SDKs. (The first
version was released in late 2008.) However, this SDK does not lack in features or Java ME JSR API support. In
fact, if you have any digital content (such as images, audio, or video) that you want to protect and to securely
distribute to your users and customers, then you really should consider using LG SDK 1.2 for Java ME, because it's
the only Java ME SDK that provides an implementation for the JSR 300, the DRM API. The LG SDK 1.2 for Java
ME is based on the older Wireless Toolkit, so it provides the ability to compile, build, and test Java ME applications.
It doesn't include an IDE, so you can't use it create or edit your code. However, like most of the SDKs presented in
this article, it does provide a Java Platform that's compatible with the NetBeans IDE, so you can plug this SDK into
NetBeans to gain all the benefits of an IDE, such as editing and debugging your code.

Like some of the other SDKs presented in this article, the LG SDK 1.2 allows you to simulate external events such
as these to your emulated application:

     •   Changes in the file system
     •   Changes in your location
     •   Payment transactions
     •   Changes in the state of contactless devices

The LG SDK 1.2 also features a handy SVG viewer and player so that you can test your SVG graphics before
embedding them into your application. Figure 8 shows a screenshot of an example application running in the LG
SDK 1.2 for Java ME.




Figure 8 - LG SDK 1.2 for Java ME


Java ME SDK Comparison Matrix
Table 1 shows a list of all the Java ME SDKs and tools that are evaluated in this article, with an entry for API
support for each one. Note that the NetBeans IDE supports multiple Java configurations, so its entries in this matrix
apply to when it is configured with the Java ME SDK 3.0.




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Table 1. Java ME API Comparison Matrix
                 Java MENetBeansMOTODEV StudioNokia S60 5thNokia S40 6thNokia S40 6212BlackBerrySony EricssonLG SDK 1.2
JSR API Support
                 SDK 3.0 IDE 6.5 for Java ME  Edition SDK Edition SDK NFC SDK         JDE 4.7   SDK 2.5      for Java ME
JSR 66 RMI           -       -            -          -           -             -           -          -            -
JSR 75 PDA         YES     YES          YES        YES         YES           YES         YES        YES          YES
JSR 82 Bluetooth   YES     YES          YES        YES         YES           YES         YES        YES          YES
JSR 118 MIDP 2.1 YES       YES          YES        YES         YES           YES         YES        YES          YES
JSR 135 Mobile
                   YES     YES          YES        YES         YES           YES         YES        YES          YES
Media 1.2
JSR 139 CLDC
                   YES     YES          YES        YES         YES           YES         YES        YES          YES
1.1
JSR 169 JDBC          -          -              -                -              -               -              -         -     -
JSR 172 Web
                     YES       YES            YES              YES            YES             YES            YES        YES   YES
Services
JSR 177 Security
                     YES       YES            YES              YES            YES             YES            YES        YES   YES
and Trust Services
JSR 179 Location     YES       YES            YES              YES            YES             YES            YES        YES   YES
JSR 180 SIP          YES       YES            YES               -              -               -              -         YES   YES
JSR 184 Mobile
                     YES       YES            YES              YES            YES             YES              -        YES   YES
3D Graphics
JSR 185 JTWI 1.0 YES           YES            YES              YES            YES             YES            YES        YES   YES
JSR 195
Information           -          -              -                -              -               -              -         -     -
Module
JSR 205 Wireless
                     YES       YES            YES              YES            YES             YES            YES        YES   YES
Messaging 2.0
JSR 209 AGUI         YES       YES              -                -              -               -              -         -     -
JSR 211 Content
                     YES       YES            YES                -            YES             YES            YES        YES   YES
Handler
JSR 217 Personal
                     YES       YES              -                -              -               -              -         -     -
Basis Profile 1.1
JSR 218 CDC 1.1 YES            YES              -                -              -               -              -         -     -
JSR 219
Foundation Profile YES         YES              -                -              -               -              -         -     -
1.1
JSR 226 Scalable
2D Vector            YES       YES            YES              YES            YES             YES            YES        YES   YES
Graphics
JSR 229 Payment YES            YES              -                -              -               -              -        YES   YES
JSR 234
Advanced
                     YES       YES            YES              YES            YES             YES              -        YES   YES
Multimedia
Supplements
JSR 238 Mobile
                     YES       YES            YES                -              -               -              -        YES   YES
Internationalization
JSR 239 Java
Binding for          YES       YES            YES                -              -               -              -        YES   YES
OpenGL ES
JSR 248 MSA 1.0 YES            YES            YES                -            YES             YES              -        YES   YES
JSR 256 Mobile
                     YES       YES              -                -              -               -              -        YES   YES
Sensor
JSR 257
Contactless           -          -              -                -              -             YES              -         -    YES
Communication
JSR 271 MIDP 3        -         -               -                -              -               -              -         -     -
JSR 280 XML          YES       YES              -                -              -               -              -         -     -
JSR 300 DRM           -         -               -                -              -               -              -         -    YES
Other Java API Support
BD-J                 YES       YES              -                -              -               -              -         -     -
JavaFX 1.1           YES       YES              -                -              -               -              -         -     -
LWUIT                YES       YES              -                -              -               -              -         -     -
Security (JAAS)      YES       YES              -                -              -               -              -         -     -
Security (JCE)       YES       YES              -                -              -               -              -         -     -
Security (JSSE)      YES       YES              -                -              -               -              -         -     -
NetBeans Mobile
                      -        YES              -                -              -               -              -         -     -
Components
G24
                      -          -            YES                -              -               -              -         -     -
MOTO2MOTO
Motorola APIs         -          -            YES               -              -               -              -          -     -
Nokia UI API          -          -             -               YES            YES             YES             -         YES    -
eSWT API              -          -             -               YES             -               -              -          -     -
IAP Info              -          -             -               YES             -               -              -          -     -
BlackBerry API        -          -             -                -              -               -             YES         -     -
Mascot Capsule
                      -          -              -                -              -               -              -        YES    -
API


Conclusion
Whew! As you can see, Java ME is a full-featured platform, with a device-agnostic SDK, that enables developers to
control nearly every aspect of a mobile device. As a result of this article, you should have a basic understanding of
some of the many Java ME toola that are available as of Q2 2009. You should also refer to the API matrix in the
coming months when you need to decide about a mobile platform based upon its API support. Did you notice that
none of the Java ME tools support the MIDP 3.0 API? Rest assured, this will change very soon, and you can
expect MIDP 3.0 support when this article is updated.

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                                      0 Microsystems'    Java caught on was in mobile phones, but a
    leader of the project is working to eventually replace the mobile-specific version of the software.




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    Java Standard Edition (SE), geared for desktop computers,
    will gradually supplant Java Micro Edition (ME) as
    technology improvements let more computing power be
    packed into smaller devices, said James Gosling, the Sun
    vice president often called the father of Java.

    "We're trying to converge everything to the Java SE
    specification. Cell phones and TV set-top boxes are
    growing up," Gosling said at a Java media event here
    Wednesday. "That convergence is going to take years."

    The prime example of the trend is Sun's own JavaFX
    Mobile, software Sun got through its SavaJe acquisition
    and which the company hopes mobile phone makers will
    embrace. JavaFX Mobile includes almost all of Java SE,
    though it's missing a few pieces such as CORBA (brace
    yourself: Common Object Request Broker Architecture)
    for getting software to work with other programs across a    Sun Vice President James Gosling speaks
    network.                                                     in May at the JavaOne conference in San
                                                                 Francisco.
    Sun's Java expectation dovetails with recent trends, most    (Credit: James Martin/CNET News.com)
    notably Apple's iPhone, which architecturally is much
    more an Apple computer writ small than a mobile phone writ large. In particular, Apple uses a
    version of its regular Safari Web browser so users will have as much of the desktop Internet
    experience as possible.

    At the same time, Intel is working to bring x86 processors that run PCs into mobile gadgets.
    It's in cohoots with open-source efforts including Ubuntu Mobile and Mobile Firefox .

    The move to Java SE won't happen overnight. Rich Green, Sun's executive vide president of
    software, said he expects smart phones using various pared-down versions of Java to stay in the
    market for at least a decade.

    But the shift already was under way. "All the work in Java ME had been pushing it closer and
    closer to Java SE," Gosling said.

    Defragmenting mobile Java
    Moving to Java SE could help fix one nagging problem with Java ME: fragmentation.

    Java ME is a collection of abilities--basic ones and higher-level options layered on top--each
    defined by a detailed description called a Java specification request. For Java ME, there are a large




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    number of these JSRs for various features. That posed a challenge to Java's original tagline, "write
    once, run anywhere."

    The tagline came about because a program written in Java could in principle run on any computer
    that had a Java virtual machine. The JVM is a software foundation that lets a generic Java program
    run on a particular computer. But with the multiplicity of Java ME extensions, there was often little
    guarantee that a program written for one mobile phone would work on another.

    Java SE has a much richer basic set of abilities, so using it instead of Java ME could at least in
    principle restore some of Java's promise of software portability.

    JavaFX mobile is one component of a multipronged effort called JavaFX that Sun announced in
    May at its JavaOne conference.

    "JavaFX is probably the largest and most complex software engineering effort Sun has ever done,"
    Gosling said. Here's a quick tour of the JavaFX components:

    Tour de Java FX jargon
    Unless you're a serious Java nerd, and maybe even if you are, Sun's latest nomenclature is a crazy
    hodge-podge of terms. Java SE--OK, that's been around for nearly a decade, we can handle it.
    Though there was some numbering madness a few years ago, Sun seems to have settled on the
    current version being Java SE 6. But let's work outward from there.

    First comes Java 6 Update N, formerly called the Consumer Java Runtime Environment (JRE).
    This is an attempt to make Java SE easier on the average computer user, chiefly through
    improvements to the plug-in that Web browsers use to deal with Web pages using Java.

    Among the Update N features: It preloads Java when the computer boots to avoid the excruciating
    delay when you encounter a Java Web page. It installs faster by loading only a bare-minimum
    kernel--typically less than 4MB--that gets things started and then updates itself with the full 12MB
    Java software collection. It takes advantage of Windows' Direct3D graphics abilities. And it
    includes a more graphically modern user interface that gives a unified look across multiple
    operating system.

    Update N should go into beta testing in December and be available a few months later, said Chet
    Haase, Sun's Java SE client architect.

    Atop Update N comes JavaFX Script. This is a new scripting language geared specifically for
    fancy user interface actions such as transparency and other effects that are difficult with the
    prevailing Web browser scripting language, JavaScript (which contrary to what its name may
    imply isn't based on Java). JavaFX Script is geared toward use more by design types than




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    engineers, Gosling said.

    Of course, you can't have a script without something to understand it. Thus there's JavaFX
    compiler to translate people's code into instructions the computer can execute.

    Last is the aforementioned Java FX Mobile. This software is in part a reaction to gripes by Java
    ME developers who wanted a more unified foundation, Gosling said. Another difference compared
    to Java ME is that Sun will deliver it as a prewritten binary program; Java ME typically comes as
    source code that programmers must compile into something useful.

    Potshots at the competition
    Gosling and Java have been at the vanguard of an idea that in a way is just coming back into
    vogue: rich Internet applications, which is software that runs in a Web browser but comes with a
    lot more pizzazz and capability than bland Web pages.

    Java caught on as a way to run server software and to run games on mobile phones, but one
    original promise of Java was turning a Web browser into a foundation for sophisticated software.
    (If you're having flashbacks to Netscape taking on Microsoft Windows and the resulting federal
    antitrust case, just breathe deeply for a moment to settle down.)

    But much of the rich Internet application action is happening with software such as Ajax, the
    Adobe Integrated Runtime (nee Apollo) and Microsoft's Silverlight and Google Gears.

    Gosling thinks JavaFX has a chance, too, though, listing several advantages he believes it has: a
    richer user interface, faster performance, a robust and well accepted language and better abilities
    when a computer is disconnected from a network.

    And security, he adds. Adobe's AIR is designed to let programs work like regular PC software, but
    Gosling thinks the approach unwise. "It's a petri dish for viruses. Security is really hard to
    implement well."

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     Stephen Shankland writes about a wide range of technology and products, but has a particular
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 In this paper we look at three mobile development environments: Windows Mobile, Java ME and Android. Through platform comparison, the
 different environments are examined closely and strengths and weaknesses are brought to life. In all three environments example
 applications are written to compare the environments in action on respective devices. Environment specific deployment files are created to
 illustrate amount of boilerplate code and overhead during deployment. Different key areas such as implementation aspects, performance
 aspects and quality assurance are compared to give an in depth overview of the status of the different platforms. Our results show that
 although the three environments are similar in some aspects they still represent three distinctive fields each with their respective
 characteristics. Through our code examples and platform comparison we come to the conclusion that the Windows Mobile and Android
 platform provides a better development environment, whereas Java ME still struggles with poor emulator support and incompatible
 implementations. The main features they have in common are also seen in trends directly visible in the programming languages such as unit
 testing, language features and end user distribution strategies. Big differences are highlighted when inspecting community environments,
 hardware abilities and platform maturity. This will have large influence on the choice of development platform for creating novel assistive
 environment applications.




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